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                         UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF TEXAS
                              BEAUMONT DIVISION

 UNITED STATES OF AMERICA                    §
                                             §
 v.                                          §    CASE NO. 1:13-CR-55(13)
                                             §
 ISAAC MIRELES                               §

      FINDINGS OF FACT AND RECOMMENDATION ON GUILTY PLEA
           BEFORE THE UNITED STATES MAGISTRATE JUDGE

        By order of the District Court, this matter was referred to the undersigned United

 States Magistrate Judge for administration of a guilty plea and allocution under Rules 11

 and 32 of the Federal Rules of Criminal Procedure. Magistrate judges have the statutory

 authority to conduct a felony guilty plea proceeding as an “additional duty” pursuant to

 28 U.S.C. § 636(b)(3). United States v. Bolivar-Munoz, 313 F.3d 253, 255 (5 th Cir. 2002),

 cert. denied, 123 S. Ct. 1642 (2003). On June 17, 2014, this cause came before the

 undersigned United States Magistrate Judge for entry of a guilty plea by the defendant,

 Isaac Mireles, on Count One and Count Two of the charging Second Superseding

 Indictment filed in this cause.

        Count One of the Second Superseding Indictment charges that from on or about


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 sometime in the late 2000's, the exact date being unknown to the Grand Jury, and

 continuing thereafter until July 23, 2013, in the Eastern District of Texas and elsewhere,

 Isaac Mireles, and several other co-defendants knowingly and intentionally conspired and

 agreed with each other, and with persons known and unknown to the Grand Jury, to

 distribute and to possess with the intent to distribute five (5) kilograms or more of a

 Schedule II controlled substance, namely, a mixture or substance containing a detectable

 amount of cocaine, in violation of 21 U.S.C. § 841(a)(1), all in violation of 21 U.S.C. §

 846.

        Count Two of the Second Superseding Indictment charges that from on or about

 sometime in the late 2000's, the exact date being unknown to the Grand Jury, and

 continuing thereafter until July 23, 2013, in the Eastern District of Texas and elsewhere,

 Isaac Mireles, and several other named co-defendants, knowingly and intentionally

 conspired and agreed with each other, and with persons known and unknown to the Grand

 Jury, to distribute and possess with the intent to distribute one thousand (1,000) kilograms

 or more of a Schedule I controlled substance, namely, a mixture or substance containing a

 detectable amount of marijuana, in violation of 21 U.S.C. § 841(a)(1), all in violation of

 21 U.S.C. § 846.

        Defendant, Isaac Mireles, entered a plea of guilty to Count One and Count Two of

 the Second Superseding Indictment into the record at the hearing.

        After conducting the proceeding in the form and manner prescribed by Federal

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 Rule of Criminal Procedure 11 the Court finds:

        a.     That Defendant, after consultation with counsel of record, has knowingly,

 freely and voluntarily consented to the administration of the guilty plea in this cause by a

 United States Magistrate Judge in the Eastern District of Texas subject to a final approval

 and imposition of sentence by the District Court.

        b.     That Defendant and the Government have entered into a plea agreement

 which was disclosed and addressed in open court, entered into the record, and placed

 under seal.

        c.     That Defendant is fully competent and capable of entering an informed

 plea, that Defendant is aware of the nature of the charges and the consequences of the

 plea, and that the plea of guilty is a knowing, voluntary and freely made plea. Upon

 addressing the Defendant personally in open court, the Court determines that Defendant’s

 plea is voluntary and did not result from force, threats or promises. See F ED. R. C RIM. P.

 11(b)(2).

        d.     That Defendant’s knowing, voluntary and freely made plea is supported by

 an independent factual basis establishing each of the essential elements of the offense and

 Defendant realizes that his conduct falls within the definition of the crimes charged under

 21 U.S.C. § 846.

                               STATEMENT OF REASONS

        As factual support for Defendant’s guilty plea, the Government presented a factual

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 basis. See Factual Basis and Stipulation. In support, the Government and Defendant

 stipulated that if this case were to proceed to trial the Government would prove beyond a

 reasonable doubt, through the sworn testimony of witnesses, including expert witnesses, as

 well as through admissible exhibits, each and every essential element of the crimes

 charged in Counts One and Two of the Second Superseding Indictment. The Government

 would also prove that the defendant is one and the same person charged in the Second

 Superseding Indictment and that the events described in the Second Superseding

 Indictment occurred in the Eastern District of Texas and elsewhere. The Court

 incorporates the proffer of evidence described in detail in the factual basis and stipulation

 in support of the guilty plea.

        Defendant, Isaac Mireles, agreed with and stipulated to the evidence presented in

 the factual basis. Counsel for Defendant and the Government attested to Defendant’s

 competency and capability to enter an informed plea of guilty. The Defendant agreed with

 the evidence presented by the Government and personally testified that he was entering his

 guilty plea knowingly, freely and voluntarily.

                             RECOMMENDED DISPOSITION

        IT IS THEREFORE the recommendation of the undersigned United States

 Magistrate Judge that the District Court accept the Guilty Plea of Defendant which the

 undersigned determines to be supported by an independent factual basis establishing each

 of the essential elements of the offenses charged in Count One and Count Two of the

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 charging Second Superseding Indictment on file in this criminal proceeding. The Court

 also recommends that the District Court accept the plea agreement pursuant to Federal

 Rule of Criminal Procedure 11(c). Accordingly, it is further recommended that,

 Defendant, Isaac Mireles, be finally adjudged as guilty of the charged offenses under Title

 21, United States Code, Section 846.

        Defendant is ordered to report to the United States Probation Department for the

 preparation of a presentence report.     At the plea hearing, the Court admonished the

 Defendant that the District Court may reject the plea and that the District Court can

 decline to sentence Defendant in accordance with the plea agreement, the federal

 sentencing guidelines and/or the presentence report because the sentencing guidelines are

 advisory in nature. The District Court may defer its decision to accept or reject the plea

 agreement until there has been an opportunity to consider the presentence report. See F ED.

 R. C RIM. P. 11(c)(3).   If the Court rejects the plea agreement, the Court will advise

 Defendant in open court that it is not bound by the plea agreement and Defendant may

 have the opportunity to withdraw the guilty plea, dependent upon the type of the plea

 agreement. See F ED. R. C RIM. P. 11(c)(3)(B).      If the plea agreement is rejected and

 Defendant still persists in the guilty plea, the disposition of the case may be less favorable

 to Defendant than that contemplated by the plea agreement. Defendant has the right to

 allocute before the District Court before imposition of sentence.




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                                       OBJECTIONS

        Objections must be: (1) specific, (2) in writing, and (3) served and filed within

 fourteen (14) days after being served with a copy of this report.           See 28 U.S.C. §

 636(b)(1). A party’s failure to object bars that party from: (1) entitlement to de novo

 review by a district judge of proposed findings and recommendations, see Rodriguez v.

 Bowen, 857 F.2d 275, 276-77 (5 th Cir. 1988), and (2) appellate review, except on grounds

 of plain error of unobjected-to factual findings and legal conclusions accepted by the

                                                                                  th
.district court, see Douglass v. United Servs. Auto. Ass’n., 79 F.3d 1415, 1417 (5 Cir.

 1996) (en banc).    The constitutional safeguards afforded by Congress and the courts

 require that, when a party takes advantage of his right to object to a magistrate’s findings

 or recommendation, a district judge must exercise its nondelegable authority by

 considering the actual evidence and not merely by reviewing and blindly adopting the

 magistrate’s report and recommendation. See Hernandez v. Estelle, 711 F.2d 619, 620 (5 th

 Cir. 1983); United States v. Elsoffer, 644 F.2d 357, 359 (5 th Cir. 1981) (per curiam).


                  SIGNED this the 18th day of June, 2014.




                                                   ____________________________________
                                                   KEITH F. GIBLIN
                                                   UNITED STATES MAGISTRATE JUDGE




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